Case: 1:18-cv-05587 Document #: 1147-5 Filed: 01/27/22 Page 1 of 8 PagelD #:54503

 

 

Illinois Anti-Predatory
pending Database
rogram
MN

Certificate of Exemption

 

 

Mn

Doc#: 1602156231 Fea: $52.00
HiiSP Fee: $o.00 RPRF Fee: $1.00
Karen A.Yatbrough

Cook County Recorder of Deeds

Date: 01/21/2016 02:30 PM Fg: 1 of 8

 

 

Ut

 

Report Mortgage Fraud
800-532-8785

The property identified as: PIN: 20-25-310-009-0000

Address:
Street: 7635 S. East End

Street line 2:

City: Chicago State: IL ZIP Code: 60649

Lender. The Persons Listed on Exhibit A to the Mortgage c/o EquityBuild Finance, LLC

Borrower: EquityBuild, Inc

 

Loan / Mortgage Amount: $1,703,649.00

 

 

 

Le

Certificate number: 928D33C0-C615-4D96-9B22-7240BCOF695A Execution date 10/29/201
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PAL [The Above Space For Recorder's Use Only)

 

MORTGAGE

THIS MORTGAGE ("Security Instrument”) is given on October 29 2015. The mortgagor is
EquityBuild, inc. ("Borrower").

Borrower owes Lender the principal sum of One Million Seven Hundred Three Thousand Six
Hundred Forty-Nine and 00/100 Dollars (U.S. $1,703,649.00). This debt is evidenced by
Borrower's note dated the same date as this Security instrument (Mortgage), which provides for a
final payment of the fuil debt, if not paid earlier, due and payable November 18, 2017. This
Security Instrument secures to Lender:

Illinois:

PIN: 20-25-310-009-0000
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BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed
and has the right to mortgage, grant and convey the Property and that the Property is
unencumbered, except for encumbrances of record. Borrower warrants and will defend generally the
title to the Property against all claims and demands, subject to any encumbrances of record.

and late charges due under the Note.

Unless Lender and Borrower otherwise agree in writing, insurance Proceeds shall be applied
to restoration and repair of the Property damaged, if the restoration or repair is economically feasible
and Lender's security is not lessened. if the restoration or repair is not economically feasible or
Lender's security would be lessened, the insurance proceeds shail be applied to the sums secured
by this Security Instrument, whether or not then due, with any excess paid to Borrower. If Borrower
abandons the Property, or does not answer within 30 days a notice from Lender that the insurance
carrier has offered to settle a claim, then Lender may Collect the insurance proceeds. Lender may
use the proceeds to repair or restore the Property or to Pay sums secured by this Security

acquired by Lender, Borrower's rights to any insurance policies and proceeds resulting from damage
to the Property prior to the acquisition shalt pass to Lender to the extent of sums secured by this
Security Instrument immediately prior to the acquisition.

3. Preservation and Maintenance of Property; Leaseholds. Borrower shall not destroy, damage
or substantially change the Property, allow the Property to deteriorate or commit waste. If this
Security instrument is on a leasehold, Borrower shail comply with the provisions of the lease, and if
Borrower acquires fee title to the Property, the leasehold and fee title shall not merge unless Lender
agrees to the merger in writing.
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5. Successor and Assigns Bound; Joint and Several Liability: Co-signers. The covenants and
agreements of this Security Interest shail bind and benefit the Successors and assigns of Lender and
Borrower, subject to the Provisions of paragraph 9. Borrower
joint and several. Any Borrower who co-signs this Security Instrument but does not execute the Note:
(a) is co-signing this Security Instrument only to mortgage, grant and convey the Borrower's interest

agree to extend, modify, forebear or make any accommodations with regard to the terms of this
Security Instrument or the Note without the Borrower's consent

6. Notices. Any notice to Borrower provided for in this Security Instrument Shall be given by
delivering it or by mailing it by first class mail unless applicable law requires use of another method.
The notice shall be directed to the Property Address or any other address Borrower designates by
notice to Lender. Any notice to Lender shall be given by first class mail to Lender's address stated
herein or any other address Lender designates by notice to Borrower. Any notice provided for in this
Security instrument shall be deemed to have been given to Borrower or Lender when given as
provided in this paragraph.

7. Governing Law: Severability. This Security Instrument shall be governed by federal law and
the law of jurisdiction in which the Property is located. In the event that any provision or clause of this
Security Instrument or Note conflicts with applicable law, such conflict shail not affect other provisions
of this Security Instrument or the Note which can be given effect without the conflicting provision. To
this end the provisions of this Security Instrument and the Note are declared to be severable.

8. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this
Security Instrument.
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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
this Security Instrument and in any rider(s) executed by Borrower and recorded with it.

Signed, sealed and delivered in the presence of:

BORROWER: EquityBuild, Inc.

Li VA C—— (SEAL)

Jerry en, President

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{Space Below This Line For Acknowledgement]
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STATE OF FLORIDA, (Va natre County ss:

and in the county aforesaid to take acknowledgements, personally appeared Jerry Cohen, to me
known to be the person described in and who executed the foregoing instrument and acknowledged
that he/she executed the same for the purpose therein expressed.

WITNESS my hand and official seal in the county and state aforesaid this Als Hay of
de 2057

My Commission expires: July Qe, Bert

   

 

  

 

 

 

{Seal} | . . Wi *) MY COMMISSION #FFO19714
“ Leak Co ot dun “en KOK EXPIRES July 26, 2017
Al ota ry Public FloridaNotaryService.com

 

 
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Exhibit A
| Lender Name Principai Amount Percentage of Loan
Leah Matthews pT
Michael James Guilford and Nancy Richard-Guilford, | am |
0.59%

| jointly with right of survivorship

| iPlanGroup Agent for Custodian FBO Laura Dirnberger

LIRA
Equity Trust Company Custodian FBO Dorothy Marie 0.59%
Paul N. Wilmesmeier eT
Robert Guine 1.06%
Equity Trust Company Custodian FBO Nagaraja R Rao 0
IRA 6.46%
John E. Bloxham J 3 8%
Asians Investing in Real Estate, LLC 4 a7 J
Tiger Chang Investments, LLC 4a]
CAMA SDIRA LLC FBO Frank Starosciak IRA 0.
Self-Di i ,

| Manoj Donthineni 343.914 2.58%
Carolyn Ucker $26,000 | ar
Self-Directed IRA Services Inc. FBO David Geldart $11,938 0.70%
QCH Investment Trust $50,000 |} 898% |
Total Return Income Fund, LLC

4

i Umbrella Investment Partners, LLC

| GRB Properties LLC
Jeffry M. Edwards 988% 7
Cecilia Wolff p47]

5.87%

iPlanGroup Agent for Custodian FBO Winnie Quick IRA 0.65%
Arthur L_and Dinah F Bertrand p98 76% |
Ran oroup Agent for Custodian FBO Timothy J. Goree $50,000 2.93%

 
    
   
     
 
 
  
 
  

 

Baker IRA
Directed IRA Services Inc. FBO James Clements $20,000 P9476 J
The Income Fund, LLC
0.76%
Trey Hopkins
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